    Case 2:19-cv-11149-LMA-DMD Document 9 Filed 08/13/19 Page 1 of 7



                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

REC Marine Logistics, LLC,         )               CIVIL ACTION
Plaintiff                          )
                                   )               NO.2:19-cv-11149-LMA-DMD
versus                             )
                                   )
DeQuincy R. Richard                )               JUDGE Africk
Defendant                          )               MAGISTRATE (3)
___________________________________)


    ANSWER TO RICHARD COUNTER-CLAIM AND THIRD PARTY COMPLAINT

     While at all times maintaining all non-inconsistent responses,

claims, objections and assertions of the original Declaratory

Judgment, Plaintiff, REC, where not inconsistent, together with

Gulf Offshore Logistics LLC, and Offshore Transport Services, LLC,

respond to the Counter-Claim and Third Party Complaint made by

DeQuincy R. Richard as follows.



           ANSWER TO COUNTER-CLAIM AND THIRD PARTY COMPLAINT


     NOW    INTO    COURT,    through     undersigned    counsel,      comes      the

aforementioned cross-defendants and third party defendants, made

defendants    herein     by   the    counter-complaint         and   third    party

complaint    of    DeQuincy   R.     Richard,   who,    with    respect      to   the

allegations       contained   in    the   plaintiff's    various      complaints,

responds/answers as follows:

                                   FIRST DEFENSE

     The Counter Claim and Third Party Complaint fails to state a

claim upon which relief can be granted against these defendants.
    Case 2:19-cv-11149-LMA-DMD Document 9 Filed 08/13/19 Page 2 of 7




                             SECOND DEFENSE

     In part the plaintiffs’ claims are barred by prescription,

estoppel and/or laches, and these defendants affirmatively plead

these defenses in their behalf.

                                THIRD DEFENSE

     And now in further answer, counter defendants, and third party

defendants    specifically   answer     each   allegation     of   plaintiffs’

counter-complaint and third party complaint as follows:

                                      1.

     The allegations of paragraph 7.1 of the Complaint are vague as

worded and therefore denied pending a more definitive factual

statement or legal basis for the claim.

                                      2.

     The     allegations   of     paragraphs    1.1    are    admitted,     but

allegations numbered 1.2, and 4.1-4.3 are specifically denied.

                                      3.

     The allegations of paragraphs 5.1 through 7.1 are denied for

lack of sufficient information to justify a current belief therein,

or because they are simply incorrect.

                                      4.

     The allegations of paragraph 8.1 of the Complaint requires no

response from defendants, however should the Court deem answer

necessary,    the   allegations    of   paragraph     8.1    are   denied   for

sufficient knowledge for informed belief.
       Case 2:19-cv-11149-LMA-DMD Document 9 Filed 08/13/19 Page 3 of 7



                                 FOURTH DEFENSE

       While at all times specifically denying any and all fault,

negligence or responsibility to the plaintiff, defendants all

allege and aver that the damages sustained by the plaintiff, if

any,    were   caused   solely    by   DeQuincy   R.   Richard’s   own   fault,

neglect, misconduct, inattention, or breach of duty without any

fault whatsoever on the part of defendants; but, in the event that

plaintiff may be able to establish any fault or negligence on the

part of these defendants, which is at all times denied, defendants

plead the substantial comparative negligence of the plaintiff,

DeQuincy R. Richaed, as a bar to and/or mitigating factor reducing

any award of damages to the plaintiffs herein, if any.

                                 FIFTH DEFENSE

       As a further defense, defendants, and each individually,

allege and aver that the plaintiff failed to mitigate his damages,

if any were sustained, as required by law and is thereby precluded

from making any claims for damages in excess of those which could

have been prevented in the exercise of ordinary care and prudence

in mitigating one's care and/or damages.

                                 SIXTH DEFENSE

       Alternatively, defendants, allege and aver as a separate

defense that any accident or injuries plaintiff, may prove, were

the result or results of the acts and/or omissions, commissions,

negligence and/or breach of duty of other parties or third parties,

over whom defendant had no control and for which acts and/or
    Case 2:19-cv-11149-LMA-DMD Document 9 Filed 08/13/19 Page 4 of 7



omissions     the    defendants,     serially    or    individually,      has   no

responsibility, legal or otherwise, which contributed in varying

combinations and degrees with the negligence and/or breach of duty

of the plaintiff, DeQuincy R. Richard, to produce the results

complained of by plaintiff herein.

                              SEVENTH DEFENSE

     As   a   further    additional,     alternative     defense,       defendants

allege and aver that if plaintiff, DeQuincy R. Richard, was injured

or sustained his alleged damage, it was in the course of his normal

job, duties, and occupational tasks, without any fault or neglect

of these defendants, and he is therefore estopped from making

claims for normal risks assumed as incidental and inherent in the

nature of his Jones Act employment.

                                  EIGHTH DEFENSE

     If the plaintiff, was injured, his injury arose from his own

failure to perform the personal duties and responsibilities of his

employment, which failure created an unreasonable risk of injury to

himself and/or created an unsafe vessel, if any such condition is

found to have existed and to have caused the plaintiff's injuries.

                                  NINTH DEFENSE

     While at all times denying any and all liability, should any

Defendant     or    combination    thereof,     be   found    liable,    then   the

defendant would show that such acts for which the defendant(s) are

held liable were not within the privity or knowledge of the owners

and/or the operators of the M/V Dustin Danos.                Therefore, Offshore
     Case 2:19-cv-11149-LMA-DMD Document 9 Filed 08/13/19 Page 5 of 7



Transport Services and/or REC are entitled to limit its/their

liability to its/their interest in the M/V Dustin Danos, at the end

of her voyage plus the freight then pending, pursuant to 46 U.S.C.

§ 183 et seq.

     WHEREFORE, Defendants, pray that this answer be deemed good

and sufficient, and that after all legal delays and due proceedings

have been had, there be judgment herein in their favor and against

plaintiff, DeQuincy R. Richard, dismissing all of plaintiff’s

claims, with prejudice, at plaintiff’s costs; and for all other

just and equitable relief.




                                  Respectfully Submitted,

                                  //Fred E. Salley

                                  BY:________________________________
                                  FRED E. SALLEY, T.A. (11665)
                                  SALLEY & ASSOCIATES
                                  P.O. Box 3549
                                  77378 Hwy 1081 Cretien Annex
                                  Covington, Louisiana 70434
                                  Telephone: (985) 867-8830
                                  Facsimile (985) 867-3368
                                  Counsel for Plaintiff, Counter-
                                  Defendant, REC Marine         Logistics,
                                  LLC, et.al
       Case 2:19-cv-11149-LMA-DMD Document 9 Filed 08/13/19 Page 6 of 7




                                         VERIFICATION

State of Louisiana:

Parish of Lafourch:

       Now before me, a Notary Public, for the State and Parish aforesaid, came and appeared



                                   RONALD E. CHADDOCK



       Who after being placed under oath, stated that he is a major and citizen of the state and parish

as referenced herein, and the Manager for REC Marine Logistics, LLC:

       That he is familiar with DeQuincy Richard and with the facts of his claim for Maintenance

and Cure and under the Jones Act;

       That he has read the proposed answer to Richard’s Jones Act and GML claim, and that it is

true and correct to the best of his current knowledge, information, and belief.



                                                               ____________________
                                                               Ronald E. Chaddock



Sworn to and subscribed to before me, a Notary Public, on this _______ day of August 2018




                                                       __________________________

                                                       Notary Public, State of Louisiana
Case 2:19-cv-11149-LMA-DMD Document 9 Filed 08/13/19 Page 7 of 7
